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                                                                                                     US Dominion, Inc., Dominion Voting Systems, Inc., Dominion Voting Systems
         Lindell, Michael J.
                                                                                                     Corporation, Smartmatic USA Corp., Smartmatic International Holding B.V., and
                                                                                                     SGO Corporation Limited
                                                                Carver



                                                                     (see attachment)
          Alec J. Beck
          Barnes & Thornburg LLP
          225 South Sixth St., Ste. 2800
          Minneapolis, MN 55402


                                      X




                                  X




X



                                          18 USC § 1962, 42 USC §§ 1983, 1985

                                           Abuse of process, defamation, civil rights, conspiracy.

                                                                                                +75,000                                                    X


                                                                                  Patrick Schiltz                                                  0:21-cv-01015-PJS/DTS


    6/3/2021                                                     s/Alec J. Beck
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ATTACHMENT TO CIVIL COVER SHEET

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